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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIA QAZI,                                           )
                                                      )
                               Plaintiff,             )
                                                      )
               v.                                     )       Case No. 22-cv-4058
                                                      )
ROUNDY’S ILLINOIS, LLC,                               )       Hon. Mary Rowland
d/b/a MARIANO’S,                                      )
                                                      )
                               Defendant.             )

                    DEFENDANT’S RULE 12(b)(6) MOTION TO DISMISS

       Defendant, Roundy’s Illinois LLC d/b/a Mariano’s (“Defendant,” or “Mariano’s”), by and

through its undersigned counsel, respectfully moves, under Rule 12(b)(6), to dismiss this action,

with prejudice. Plaintiff opposes this motion.

                                  I. PRELIMINARY STATEMENT

       Plaintiff, Maria Qazi (“Qazi” or “Plaintiff”), asserts claims against Mariano’s for allegedly

unpaid overtime under the Fair Labor Standards Act (the “FLSA,” 29 U.S.C. § 201, et seq.) and

the Illinois Minimum Wage Law (the “IMWL,” 820 ILCS 105/1, et seq.). (Dkt. 1).

       Plaintiff’s claims in this action were severed from Cunningham, et al. v. Roundy’s Illinois,

LLC d/b/a Mariano’s, Case No. 21-cv-05368 (N.D. Ill.). Cunningham, in turn, was an untimely

lawsuit filed by twenty-three (23) plaintiffs – including Ms. Qazi – who had been previously

dismissed from a decertified FLSA collective action, Haugen, et al. v. Roundy’s Illinois, LLC d/b/a

Mariano’s, Case No. 18-cv-7297 (N.D. Ill.).

       When Judge Bucklo dismissed Ms. Qazi from the Haugen matter (after almost three years

of litigation), she gave her sixty (60) days to refile her action. Ms. Qazi, however, failed to comply

with that deadline. Under binding Seventh Circuit precedent, when she failed to file a new action
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by that deadline, Judge Bucklo’s “without-prejudice” dismissal of Ms. Qazi ripened into a

“dismissal with prejudice.” Accordingly, Plaintiff is barred from reasserting her claims here.

        Moreover, if her action had not been dismissed with prejudice, Judge Bucklo’s “without-

prejudice” dismissal of Ms. Qazi from Haugen would have retroactively wiped away any tolling

that had accrued in Haugen. Because Plaintiff’s claims accrued more than three years before she

filed this action, those claims are time-barred and should be dismissed, with prejudice, under Rule

12(b)(6).

                                       II. LEGAL STANDARD

        A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of a complaint “to state

a claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). “To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although a court must accept as true all well-

pleaded allegations in a complaint, it need not accept legal conclusions as true. Id. Similarly,

“threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Id.

        “A complainant can plead himself out of court by including factual allegations that

establish that the plaintiff is not entitled to relief as a matter of law.” O’Gorman v. City of Chicago,

777 F.3d 885, 889 (7th Cir. 2015). Thus, “if a plaintiff alleges facts sufficient to establish a statute

of limitations defense, the district court may dismiss the complaint on that ground.” Id. Similarly,

“when a defendant raises res judicata as a defense and it is clear from the complaint’s face, and

matters of which the district court may take judicial notice, that the plaintiff’s claims are barred as




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a matter of law, dismissal under Rule 12(b)(6) is proper.” Clark & Leland Condo., L.L.C. v.

Northside Cmty. Bank, 110 F. Supp. 3d 866, 868–69 (N.D. Ill. 2015) (cleaned up).1

        Between the facts alleged in her Complaint and the procedural history of her prior

litigation, Plaintiff has pleaded herself out of court.

                         III. FACTUAL AND PROCEDURAL BACKGROUND

        On November 1, 2018, James Haugen sued Mariano’s for alleged violations of the FLSA

(and ancillary state laws and local wage ordinances), on his own behalf and on behalf of other

similarly situated People Service Managers (“PSMs,” which are store-level human resources

managers employed at each Mariano’s store location). See Haugen, et al. v. Roundy’s Illinois,

LLC d/b/a Mariano’s, Case No. 18-cv-7297 (N.D. Ill.), Dkt. 1. Mr. Haugen alleged that Mariano’s

misclassified him and other PSMs as “exempt,” and consequently violated the FLSA by failing to

pay “time-and-a-half” for overtime hours worked. Id. at ¶ 5. Mr. Haugen framed his lawsuit as a

putative collective FLSA action under 29 U.S.C. § 216(b) and sought to serve as the lead plaintiff.2

        After “Phase I” discovery, Judge Bucklo granted conditional certification of Haugen as a

collective action. Haugen, Dkt. 51. Twenty-eight (28) plaintiffs eventually opted in, including

Ms. Qazi, who opted in on January 24, 2020, and became a full party-plaintiff to the Haugen case.



1
  It is proper for this Court to take judicial notice of dates on which certain actions were taken or
required to be taken in earlier litigation. Ennenga v. Starns, 677 F.3d 766, 773–74 (7th Cir. 2012)
(“Taking judicial notice of matters of public record need not convert a motion to dismiss into a
motion for summary judgment.”).
2
  By way of background, courts typically employ a two-part test to determine whether employees
are “similarly situated” such that an FLSA action may proceed on a collective basis. “At the first
stage, a named plaintiff ‘can show that the potential claimants are similarly situated by making a
modest factual showing sufficient to demonstrate that they and potential plaintiffs together were
victims of a common policy or plan that violated the law.’” Camilotes v. Resurrection Health
Care Corp., 286 F.R.D. 339, 345 (N.D. Ill. 2012) (quoting Franks v. MKM Oil, Inc., No. 10 CV
00013, 2012 WL 3903782, at *9 (N.D. Ill. Sept. 7, 2012)). “At the second stage, however, the
court’s inquiry becomes more stringent.” Id.


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Haugen, Dkt. 56. In that case, as here, Ms. Qazi alleged that Mariano’s violated the FLSA and the

IMWL. Haugen, Dkt. 38.

       The parties began conducting “Phase II” discovery to determine whether there was

sufficient similarity among the plaintiffs to allow the matter to proceed collectively on the merits.

During Phase II, the parties took extensive discovery that included document requests,

interrogatories, and more than a dozen (12) depositions. At the conclusion of Phase II discovery,

Mariano’s moved to decertify the conditionally-certified collective action (on the basis that the

plaintiffs were not “similarly situated” to one another), and to dismiss Ms. Qazi and the rest of the

plaintiffs who had opted into the putative collective action. Haugen, Dkt. 109.

       After examining the parties’ extensive briefing and the evidence gathered in discovery,

Judge Bucklo ruled that the plaintiffs were not similarly situated to each other under Section 216(b)

of the FLSA. On that basis, she granted Mariano’s motion to decertify the putative collective

action and dismissed the opt-in plaintiffs, including Ms. Qazi. Haugen v. Roundy’s Illinois, LLC,

552 F. Supp. 3d 806, 811 (N.D. Ill. 2021).

       Twenty-five (25) days later, Ms. Qazi (along with her dismissed co-plaintiffs) sought

“clarification” from Judge Bucklo to address whether she was granted leave to refile her claims.

Haugen, Dkt. 126. The dismissed plaintiffs took the position that the opt-in claims would be

dismissed “without prejudice with leave to refile on an individual basis.” Id. at ¶ 3. In response,

Mariano’s agreed that the opt-in claimants “should be dismissed without prejudice,” and that each

of the plaintiffs should file “individual lawsuits.” Haugen, Dkt. 128 at pp. 1-2. On September 13,

2021, Judge Bucklo provided the requested clarification, and entered an order allowing the

dismissed plaintiffs – including Ms. Qazi – to each file an individual lawsuit no later than October

4, 2021:




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               The motion for clarification is granted to make clear that the August
               5, 2021 order dismissed the opt-in plaintiffs without prejudice. The
               motion to toll the statute of limitations for dismissed opt-in plaintiffs
               is granted. Dismissed opt-in plaintiffs may re-file their claims
               dismissed by this court on an individual basis on or before October
               4, 2021 (60 days following the court’s August 5, 2021 order).

Haugen, Dkt. 131 (emphasis added).

       The October 4, 2021, refiling deadline came and went without Ms. Qazi or any of the other

dismissed plaintiffs refiling their claims, or moving for an extension of Judge Bucklo’s deadline.

Accordingly (as explained further below), this caused the “without-prejudice” dismissal to ripen

into a “dismissal with prejudice.” Nevertheless, on October 8, 2021 – four days after the refiling

deadline had expired, rendering Judge Bucklo’s August 5, 2021, order a “dismissal with prejudice”

– twenty-three (23) of the dismissed plaintiffs, including Ms. Qazi, collectively refiled their claims

in a single lawsuit, Cunningham, et al. v. Roundy’s Illinois, LLC d/b/a Mariano’s, Case No. 1:21-

cv-05368 (N.D. Ill.), before Judge Kendall. Cunningham, Dkt. 1.

       Ms. Qazi and the rest of the Cunningham plaintiffs had ignored Judge Bucklo’s rulings,

and had improperly refiled their disparate claims in a single action, hoping that a different judge

would allow their actions to proceed as a de facto collective action. Accordingly, before the

Cunningham case had reached the pleadings stage, Mariano’s moved to sever the disparate claims

of each PSM plaintiff into separate actions. Cunningham, Dkt. 11 & Dkt. 12. On July 6, 2022,

Judge Kendall granted Mariano’s motion, and severed each plaintiff. Cunningham, Dkt. 29. She

required each plaintiff to refile his or her severed claims in a separate action by August 5, 2022.

Cunningham, Dkt. 30.

       On August 4, 2022, Ms. Qazi refiled her action against Mariano’s in the above-captioned

case. (Dkt. 1). This matter was originally assigned to Judge Kendall but, on August 19, 2022, it




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was administratively reassigned to Your Honor. (Dkt. 7). In this refiled action, Ms. Qazi asserts

exactly the same claims she asserted against Mariano’s in Cunningham, which were the exact same

claims Judge Bucklo dismissed (ultimately, with prejudice) in Haugen: alleged violations of the

FLSA (29 U.S.C. § 201, et seq.) and the IMWL (820 ILCS 105/1, et seq.). (Dkt. 1).

                                         IV. ARGUMENT

       Plaintiff’s claims were already dismissed with prejudice, so Plaintiff is barred from

reasserting her claims in this action. Even if Plaintiff’s action had not already been dismissed with

prejudice by Judge Bucklo, her claims would be time-barred. Either way, the Court should dismiss

Plaintiff’s claims “with prejudice” (again).

           A. PLAINTIFF’S ACTION IS BARRED BECAUSE IT WAS ALREADY
              DISMISSED “WITH PREJUDICE.”

       Judge Bucklo already dismissed Ms. Qazi’s claims with prejudice, so she is barred from

asserting those claims again here.

       As explained above, on January 24, 2020, Ms. Qazi opted into the Haugen collective

action, asserting FLSA and state law unpaid overtime claims against Mariano’s. Haugen, Dkt. 56.

Once she opted into the Haugen action, Ms. Qazi became a full party-plaintiff for all purposes.

See 29 U.S.C. § 216(b) (employees who file consents become party plaintiffs); O’Toole v. Sears

Roebuck & Co., 2014 WL 1388660, at *2 (N.D. Ill. Apr. 10, 2014) (“[U]nlike class members in a

Rule 23 class action, opt-in plaintiffs in a collective action have affirmatively decided to become

plaintiffs and thus are full parties.”). On March 11, 2021, Mariano’s moved in Haugen to decertify

the conditionally-certified collective action and, in doing so, requested that the Court “dismiss the

claims of the opt-in Plaintiffs….” Haugen, Dkt. 109 at p. 22. On August 5, 2021, Judge Bucklo

granted Mariano’s motion and decertified the putative collective action. Haugen, Dkt. 125.




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       Twenty-five (25) days later, Ms. Qazi (along with her dismissed co-plaintiffs) moved for

clarification regarding whether she had been granted leave to file an individual action against

Mariano’s. Haugen, Dkt. 126 at p. 4. Judge Bucklo clarified that the “August 5, 2021 order

dismissed the opt-in plaintiffs without prejudice” and ordered that they “may re-file their claims

dismissed by this court on an individual basis on or before October 4, 2021 (60 days following the

court’s August 5, 2021 order).” Haugen, Dkt. 131.

       By ordering Ms. Qazi to refile her claims by October 4, 2021, it necessarily follows that

Judge Bucklo ordered that Plaintiff could not refile those claims after October 4, 2021. Stated

differently, the “without-prejudice” dismissal of Ms. Qazi was to ripen into a “with-prejudice”

dismissal on October 5, 2021, unless Ms. Qazi refiled her claims before then.

       It made sense for Judge Bucklo to impose this condition on refiling. By October 2021, the

Haugen plaintiffs had been litigating against Mariano’s for 35 months – just short of three years –

and at a steep cost to Mariano’s. To determine whether the case should proceed as a collective

action, the parties took extensive discovery that included document requests, interrogatories, and

at least twelve (12) depositions. By the time the dust settled, the certification proceedings in

Haugen had become more burdensome than most entire lawsuits. And through that process, the

Haugen plaintiffs – far more so than normal plaintiffs – became intricately well-versed in the

details of the parties’ claims and defenses. So, when Judge Bucklo granted Mariano’s motion to

decertify in August 2021, there was simply no impediment to Ms. Qazi (or any of the other opt-in

plaintiffs) immediately refiling her claims against Mariano’s in an individual action, and there was

no reason to impose any further delay upon Mariano’s.

       Nevertheless, Ms. Qazi chose not to refile her action by October 4, 2021, as Judge Bucklo

had required. Nor did she move for an extension of time. Instead, on October 8, 2021, Ms. Qazi




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refiled the same claims she had asserted in Haugen under a new action, captioned Cunningham v.

Roundy’s, Case No. 1:21-cv-05368. Ms. Qazi did so without even acknowledging the late filing,

much less providing any excuse for it.

       By the time Ms. Qazi had re-filed her claims in Cunningham on October 8, 2021, the

“without-prejudice” dismissal of those claims had already ripened into a “with-prejudice”

dismissal. Ms. Qazi was, therefore, procedurally barred from refiling her claims. “Typically when

a court dismisses a case without prejudice subject to the condition that a plaintiff must perform a

certain action, such as filing an amended complaint, within a specified time, then upon the

plaintiff’s failure to perform that action the dismissal ripens into a dismissal with prejudice.”

Johnson v. Schoen, No. 10-CV-0113, 2011 WL 245569, at *1 (S.D. Ill. Jan. 26, 2011) (emphasis

added). Indeed, as the Seventh Circuit has explained, where a court imposes a condition on a

without-prejudice dismissal, “[w]hen the condition is no longer satisfiable, the dismissal becomes

one with prejudice….” Otis v. City of Chicago, 29 F.3d 1159, 1164 (7th Cir. 1994).3

       The Seventh Circuit reiterated this rule in McDonald v. Household Int’l, Inc., 425 F.3d 424

(7th Cir. 2005). There, the district court had dismissed a complaint with the condition—similar to

Judge Bucklo’s condition here—that plaintiffs “may refile their Complaint requesting appropriate

relief … within 30 days of the date of this Entry.” McDonald v. Household Int’l, Inc., No. 1:03-

CV-01698RLY-TAB, 2004 WL 2363797, at *6 (S.D. Ind. Aug. 3, 2004). The Seventh Circuit




3
 In so ruling, the Seventh Circuit also expressly overruled Hatch v. Lane, 854 F.2d 981, 982 (7th
Cir. 1988), which previously held that a dismissal order granting leave to file an amended
complaint by a date certain did not become a final decision when time expired. Otis, 29 F.3d at
1168; see also Njos v. Metlife Ins., 2020 WL 1812382 at *3 (N.D. Ill. Apr. 8, 2020) (trial court
may, but is not required to, provide warning that failure to meet a deadline will result in dismissal
with prejudice).



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held that when the plaintiff failed to file an amended complaint within the allotted time, the

dismissal became “one with prejudice.” McDonald, 425 F.3d at 427.

        In this case, once the October 4th date had passed, Ms. Qazi could no longer satisfy the

condition of refiling her action by that deadline. Accordingly, on October 5, 2021, the “without-

prejudice” dismissal of her action “bec[ame] one with prejudice.” Otis, 29 F.3d at 1164. By the

time Ms. Qazi refiled her claims in Cunningham on October 8, 2021, she was already barred from

asserting those claims ever again.

        The claims Ms. Qazi presents here are the identical claims that she asserted in Cunningham,

which are the identical claims that were dismissed with prejudice in Haugen.4 Because Ms. Qazi’s

claims were dismissed with prejudice, she is barred from asserting them against Mariano’s here.

“[A] suit that has been dismissed with prejudice cannot be refiled; the refiling is blocked by the

doctrine of res judicata.” Elmore v. Henderson, 227 F.3d 1009, 1011 (7th Cir. 2000); see also

Semtek Int’l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 506 (2001) (holding that that when a

federal court dismisses claims with prejudice, that “bar[s] refiling of the same claim” in federal

court). Accordingly, the Court should dismiss Plaintiff’s action, with prejudice (again), under Rule

12(b)(6).

            B. EVEN IF PLAINTIFF’S ACTION HAD NOT BEEN DISMISSED “WITH PREJUDICE,”
               ALL TOLLING WAS WIPED AWAY, AND PLAINTIFF’S CLAIMS WOULD BE TIME-
               BARRED

        A dismissal without prejudice, such as Judge Bucklo’s dismissal of Ms. Qazi in Haugen,

retroactively wipes away any tolling that occurred during the course of the dismissed action, and

the lawsuit is treated for statute of limitations purposes as if it had never been filed:



4
 As explained above, before the parties in Cunningham ever got to the motion to dismiss stage,
Mariano’s moved to sever the claims of the 23 plaintiffs for improper joinder. Judge Kendall
granted that motion, and Ms. Qazi refiled her claims individually under this case number.


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               When a federal civil action is dismissed without prejudice, the
               statute of limitations runs continuously. It is not reset by the filing
               and dismissal as it is in some states (including Illinois), which allow
               litigants a period to re-file after a dismissal. In federal practice, by
               contrast, when a suit is dismissed, “the tolling effect of the filing
               of the suit is wiped out and the statute of limitations is deemed
               to have continued running from whenever the cause of action
               accrued, without interruption by that filing. In other words, a suit
               dismissed without prejudice is treated for statute of limitations
               purposes as if it had never been filed.”

Lee v. Cook Cnty., Ill., 635 F.3d 969, 971–72 (7th Cir. 2011) (emphasis added, quoting Elmore,

227 F.3d at 1011).5 Presuming, arguendo, that Judge Bucklo’s order would have prevented the

wiping away of tolling if Ms. Qazi had complied with the Court’s October 4th deadline, the

inescapable fact remains: Ms. Qazi did not refile her action until October 8, 2021. By that date,

all tolling was unquestionably wiped away for good.

       Without tolling, Ms. Qazi’s claims are time-barred. Under the FLSA, a plaintiff must

commence her action within two years of when the claim accrued, or, for willful violations of the

statute, within three years of when the claim accrued. 29 U.S.C. § 255(a).6 FLSA claims

commence “on the date when the complaint is filed.” 29 U.S.C. § 256. Here, Ms. Qazi filed her

Complaint on August 4, 2022. (Dkt. 1). Accordingly, any claims that accrued prior to August 4,

2019, are time-barred.



5
  But see Luevano v. Wal-Mart Stores, Inc., 722 F.3d 1014 (7th Cir. 2013) (finding Lee and Elmore
inapplicable where trial court sua sponte dismissed initial pro se complaint without prejudice, and
plaintiff timely filed amended complaints – in the same action – which related back to initial,
timely-filed pro se complaint).
6
 More specifically, the FLSA provides that any action to enforce any claim for unpaid overtime
“may be commenced within two years after the cause of action accrued, and every such action
shall be forever barred unless commenced within two years after the cause of action accrued,
except that a cause of action arising out of a willful violation may be commenced within three
years after the cause of action accrued.” 29 U.S.C. § 255.


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         FLSA claims accrue when there is a breach of duty by the employer. Sylvester v. Wintrust

Fin. Corp., 2014 WL 10416989, at *3 n.7 (N.D. Ill. Sept. 26, 2014). This means that overtime

claims accrue at the end of each pay period when the earned overtime for that pay period allegedly

goes unpaid (i.e., on payday). Id. Similarly, IMWL claims must be filed “within 3 years from the

date of the underpayment.” 820 ILCS 105/12(a).

         In this case, Plaintiff Qazi alleges that she worked for Mariano’s from November 2016, to

August 2017. (Dkt. 1 at ¶ 7). Thus, it is clear from the face of the Complaint that each of the pay

periods during Plaintiff’s employment ended – and her claims for unpaid overtime accrued – prior

to the August 4, 2019, bar date, and all of her overtime claims are time-barred. Because Plaintiff

has pleaded herself out of court, the Court should dismiss this entire action, with prejudice, under

Rule 12(b)(6).

                                           V. CONCLUSION

         For all of the reasons set forth above, Mariano’s respectfully requests that the Court dismiss

Plaintiff’s action, with prejudice, under Rule 12(b)(6).


Dated:    September 16, 2022                        Respectfully submitted,

                                                    ROUNDY’S ILLINOIS, LLC d/b/a
                                                    MARIANO’S, Defendant

                                                    By: /s/ Christopher S. Griesmeyer
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 16, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court via the CM/ECF System which will send notification of such

filing to those registered to receive electronic notices via email transmission at the email addresses

provided by them, including counsel of record for plaintiffs:


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